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     5

     6
                             UNITED STATES DISTRICT COURT
     7
                            SOUTHERN DISTRICT OF CALIFORNIA
     8

     9
                                                             Case No. 3:15-cv-01411-TWR-BLM
    10   The Eclipse Group LLP, a California
         limited-liability partnership,
    11                                                       PLAINTIFFS’ MOTION TO
                              Plaintiff,                     VACATE DISMISSAL AND
    12
                       v.                                    SUBSEQUENT RULINGS
    13                                                       FOLLOWING RECUSAL;
         Target Corporation, a Minnesota                     MEMORANDUM IN SUPPORT
    14   corporation, et al.,
                                                             (Fed. R. Civ. P. 60(b)(6))
    15                        Defendants.
                                                             Date: March 2, 2022
    16
                                                             Time: 1:30 p.m.
    17                                                       Ctrm: 3A
    18
                                                             Honorable Todd W. Robinson
    19

    20
               PLEASE TAKE NOTICE that on March 2, 2022 before the Honorable Todd
    21
         W. Robinson, Plaintiffs (including Intervenor-Plaintiff) respectfully will move
    22
         pursuant to Fed. R. Civ. P. 60(b)(6) to vacate the Court’s dismissal order (see ECF
    23
         No. 228) and other substantive rulings be vacated (including but not limited to
    24
         ECF Nos. 127 at 10, 146, 240, 248, 257, 262 and 269), and return this action to its
    25
         status as of June 12, 2018, when the Court set a “schedule of pretrial dates and
    26
         deadlines.” See ECF No. 197. At a minimum, before any final decision on the
    27
         appropriate remedy following recusal, Plaintiffs request appropriate disclosure and
    28
                                                         1
                                           Plaintiffs’ Motion Re Recusal
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     1   discovery of the circumstances surrounding the financial interest conflict, in order
     2   to faithfully assess the key issues justifying the requested relief.
     3                                 MEMORANDUM IN SUPPORT
     4            This Motion follows this Court’s notice of a financial interest (see ECF Nos.
     5   270-71), Intervenor-Plaintiff’s request for recusal (see ECF No. 272), the Court’s
     6   Order of recusal and transfer (see ECF No. 273) and its subsequent Order
     7   “direct[ing] Intervenor-Plaintiff to . . . identif[y] which orders, if any, Intervenor-
     8   Plaintiff believes require de novo review by the Court.” ECF No. 274 at 1. 1
     9   Because any reasonable person would conclude that Judge Sammartino was (or
    10   should have been) 2 aware of the disqualifying financial interest (i.e., owning stock
    11   in Defendant Target) during the six-year pendency of this action, and because the
    12   disqualifying financial interest “appears to have had the potential of affecting the
    13   judge’s rulings,” Plaintiffs request that the Court’s dismissal order (see ECF No.
    14   228) and other substantive rulings be vacated (including but not limited to ECF
    15   Nos. 127 at 10, 146, 240, 248, 257, 262 and 269). See Fed. R. Civ. P. 60(b)(6).
    16   Consequently, this action should be returned to its status as of June 12, 2018, when
    17   the Court set a “schedule of pretrial dates and deadlines.” See ECF No. 197. At a
    18   minimum, before any final decision on the appropriate remedy following recusal,
    19   Plaintiffs request appropriate disclosure and discovery of the circumstances
    20   surrounding the financial interest conflict, in order to faithfully assess the key
    21   issues justifying the requested relief.
    22

    23   1
             Pursuant to CivLR 7.1(j)(2), Plaintiff The Eclipse Group LLP hereby joins this Motion.
    24   2
          As noted previously (see ECF No. 272 at 2), this action was filed and assigned to Judge
    25   Sammartino long ago, in 2015. Under 28 U.S.C. § 455(c), “A judge should inform [her]self
         about his personal and fiduciary financial interests, and make a reasonable effort to inform
    26   himself about the personal financial interests of his spouse and minor children residing in [her]
         household.” Therefore, it is unclear why (as represented previously) “Judge Sammartino was not
    27   aware of this financial interest at the time the case was pending,” which time period spanned 6+
         years since June 2015, and why the conflict only “was brought to her attention [recently]”? See
    28
         ECF Nos. 270-71.
                                                             2
                                               Plaintiffs’ Motion Re Recusal
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     1                                      Legal Standard
     2         Because of recent, nationwide exposure of widespread financial interest
     3   conflicts requiring recusal—in particular concerning Judge Sammartino—this
     4   Court recently has addressed the very issue presented here. Specifically, as
     5   disclosed in a September 28, 2021 Wall Street Journal article, “Judge
     6   Sammartino’s 54 conflicts were the second-most recusal violations” among all
     7   federal judges nationwide. See Ex. A (“131 Federal Judges Broke the Law by
     8   Hearing Cases Where They Had a Financial Interest”); see also Ex. B (subsequent
     9   news articles). These significant revelations undoubtedly have damaged the
    10   public’s trust in the federal judiciary, requiring a stern, conservative remedy and
    11   course correction. As one witness stated in a Congressional hearing just three days
    12   ago, “The primary source of the judiciary’s authority and power is its reputation.”
    13   See Daily Journal, “Congress considers stricter judge disclosure law” (October 27,
    14   2021) (emphasis added). As the Supreme Court has reminded similarly, “[J]ustice
    15   must satisfy the appearance of justice.” Liljeberg v. Health Servs. Acquisition
    16   Corp., 486 U.S. 847, 864 (1988) (emphasis added).
    17         Just a few weeks ago, former Chief Judge Moskowitz in Driscoll v. Metlife
    18   Insurance examined another case (like this one) in which Judge Sammartino ruled
    19   in favor of Defendant Metlife while at the same time owning its stock (but failing
    20   to recuse). See No. 3:15-cv-01162-BTM-LL (S.D. Cal. Oct. 8, 2021) (Ex. C
    21   herewith). As Judge Moskowitz explained:
    22               [Plaintiff] Driscoll seeks disclosure of the circumstances
               surrounding the Metlife, Inc. stock interest, appointment of counsel,
    23
               and vacation of the judgment.
    24                                            ...
    25                Federal Rule of Civil Procedure 60(b)(6) is the proper avenue
               to challenge a prior decision based on the subsequent discovery of
    26
               facts requiring the judge’s disqualification under [28 U.S.C.] § 455.
    27         See Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 863-
               64 (1988).
    28
                                                  ...
                                                       3
                                         Plaintiffs’ Motion Re Recusal
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     1                The right course under § 455(b) as under § 455(a) is to proceed
     2         on a case by case basis, determining the existence of disqualifying
               knowledge at the time the judge sat, in the way that a state of mind is
     3         normally determined, from inspection of all the circumstances. . . .
     4         If the circumstances are such that a reasonable person would conclude
               that the judge had not forgotten but continued to know, his rulings
     5         must be vacated. . . . [W]here the financial interest is substantial or
     6         appears to have had the potential of affecting the judge’s rulings,
               the interest will be one that reasonable persons would conclude the
     7         judge was aware of, whatever his pretense of ignorance. The judge’s
     8         rulings will then be invalidated.
     9   Id. at *2-3 (emphasis added) (internal citation and quotation omitted).
    10         As Judge Moskowitz continued, and ultimately determined:
    11                [T]he question before the Court is whether a reasonable person
               would conclude from the circumstances that Judge Sammartino knew
    12
               of the disqualifying family member’s stock holding in Metlife during
    13         the time she presided over the case. . . . Thus, examination of Judge
               Sammartino’s Financial Disclosure Reports and obtaining a full
    14
               statement as to when she first learned of the financial interest . . .
    15         may be necessary in this case. Furthermore, since Judge
    16
               Sammartino has denied that she knew of the stock holding during
               the time she presided over the case, the judge making the
    17         determination would necessarily have to make a finding as to her
    18
               credibility.
                      Section 455(a) requires the undersigned judge to recuse from
    19
               deciding that question if a reasonable person with knowledge of all
    20         the facts would conclude that my impartiality may be questioned. The
               Court finds that to be the case here.
    21
                      The judges on our court are close and we maintain a friendship
    22
               with each other. We meet on most Mondays to discuss court business.
    23         We socialize at least once a year with our spouses. Indeed, most of
               the district judges and spouses were together for a dinner about six
    24
               weeks ago celebrating this judge’s assumption of senior status.
    25         Before the pandemic, the district judges and our spouses would get
               together for a yearly beach party. Thus, the relationship between the
    26
               district court judges and spouses is sufficiently close that a
    27         reasonable person would question whether the undersigned judge
               could impartially determine Judge Sammartino’s credibility or
    28
               determine what discovery to order in as much as that would
                                                      4
                                        Plaintiffs’ Motion Re Recusal
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     1         implicate her privacy. These are the very issues that I would be
     2         called upon to decide. Therefore, I find that I must recuse from
               deciding Driscoll’s motion.
     3
                      The reasons for recusal on the present motion do not apply to
     4         the resolution of the underlying ERISA dispute if the judgment is
     5
               vacated. However, in United States v. Feldman, 983 F.2d 144 (9th
               Cir. 1992), the Ninth Circuit held that the court cannot parse a case
     6         into those issues in which the court has a disqualifying conflict and
     7         those in which it does not. If there is a § 455 basis for
               disqualification, the judge must recuse from the entire case. Id. at 145
     8         (“when a judge determines that recusal is appropriate it is not within
     9         his discretion to recuse by subject matter or only as to certain issues
               and not others”). Thus, having held that I must recuse on the
    10         present motion, I must recuse from the entire case.
    11
         Id. at *3-5 (emphasis added).
    12
               Given the wholesale recusal which Judge Moskowitz determined in Driscoll
    13
         is required, and given that the procedural posture of this action is indistinguishable,
    14
         Plaintiffs here are unsure whether this Court is in an appropriately independent
    15
         position to address this Motion. Nevertheless, the particular circumstances of this
    16
         proceeding (as discussed infra) certainly justify the requested relief—requiring a
    17
         re-set for a trial on the merits of Plaintiffs’ claims—at least because (a) Judge
    18
         Sammartino’s ownership of Target stock is a financial interest “that reasonable
    19
         persons would conclude the judge was aware of, whatever [her] pretense of
    20
         ignorance,” and (b) the interest “appears to have had the potential of affecting the
    21
         judge’s rulings.” In such circumstances, as Judge Moskowitz explained in
    22
         Driscoll, “The judge’s rulings [should] be invalidated.”
    23
               Other cases are in accord. See State of Washington, 98 F.3d at 1164 (“Rule
    24
         60(b) authorizes setting aside a judgment [] for reasons that would have prevented
    25
         entry of the judgment in the first place, had the reasons been known at the time
    26
         judgment was entered.”); see also Clark v. Kapila, 612 B.R. 808, 816-20 (S.D.
    27
         Fla. 2019). The court in Clark, for example, ruled that a missed mandatory
    28
                                                       5
                                         Plaintiffs’ Motion Re Recusal
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     1   disqualification under 28 U.S.C. § 455 required setting aside the district court’s
     2   judgment and returning the case “to the summary judgment phase for further
     3   proceedings.” Id. at 820. As the court reasoned in relevant part:
     4                The purpose of section 455(a), as the Supreme Court of the
               United States explained, is to “promote confidence in the judiciary by
     5
               avoiding even the appearance of impropriety whenever possible.”
     6         Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 865, 108
               S. Ct. 2194, 100 L.Ed.2d 855 (1988). “Inherent in § 455(a)’s
     7
               requirement that a judge disqualify himself if his impartiality might
     8         reasonably be questioned is the principle that our system of ‘justice
               must satisfy the appearance of justice.’” Parker v. Connors Steel Co.,
     9
               855 F.2d 1510, 1523 (11th Cir. 1988) (quoting Offutt v. United States,
    10         348 U.S. 11, 14, 75 S. Ct. 11, 99 L. Ed. 11 (1954)). . . .
                                                  ...
    11
                      Having found that Judge Olson should have recused himself
    12
               pursuant to section 455(a) [but did not], the Court must decide the
    13         appropriate remedy. The Supreme Court has set forth three factors to
               consider in determining whether a judgment should be vacated for a
    14
               violation of section 455(a): “[1] the risk of injustice to the parties in
    15         the particular case, [2] the risk that the denial of relief will produce
               injustice in other cases, and [3] the risk of undermining the public’s
    16
               confidence in the judicial process.” Liljeberg, 486 U.S. at 864, 108 S.
    17         Ct. 2194.
                                                    ...
    18
                      The Court is not alone in finding that the appearance of
    19
               impropriety and the seriousness of the violation of section 455(a)
    20         mandate near-total vacatur of the trial proceedings. Judge Altonaga
               found similarly in her related appeal. Just as in that case, although “it
    21
               is burdensome to appellee[] for [the Court] to require a new trial . . . it
    22         is not unfair.” Chase Manhattan Bank [v. Affiliated FM Insurance],
               343 F.3d [120, 132 (2d Cir. 2003)]. The Court recognizes that the
    23
               adversary proceeding below has unfortunately spanned more than ten
    24         years . . . .
    25                 The Court agrees with Judge Altonaga that the most
               conservative course of action is to revert the proceedings back to the
    26         summary judgment phase . . . . In this way, Appellant and Appellee
    27         need not return all the way to the starting blocks when resuming
               litigation.
    28
                                                       6
                                         Plaintiffs’ Motion Re Recusal
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     1                 The second factor the Court must analyze is whether the risk of
     2          denial of relief will produce injustice in other cases. “This factor
                weighs in favor of vacating the judgment when so doing would
     3          ‘encourag[e] a judge or litigant to more carefully examine possible
     4          grounds for disqualification and to promptly disclose them when
                discovered.’” [U.S. v.] Cerceda, 172 F.3d [806], at 815 [(11th Cir.
     5          1999)] (quoting Liljeberg, 486 U.S. at 868, 108 S. Ct. 2194). . . . The
     6          final factor requires an analysis of the risk undermining the public’s
                confidence in the judicial process. For all the reasons set forth above,
     7          a failure to vacate the proceedings below will likely jeopardize the
     8          public’s trust and confidence in the judiciary.
     9                 “An independent, fair and impartial judiciary is indispensable to
                our system of justice.” MODEL CODE OF JUDICIAL CONDUCT
    10          Preamble (2011). So is avoiding the appearance of partiality. . . .
    11          Public trust and confidence in the judiciary depend upon the
                appearance of integrity and independence of judges, which must be
    12          carefully safeguarded. Only reversal and remand in this case will
    13          restore that appearance.

    14   Clark, 612 B.R. at 816-20 (emphasis added); see also Liljeberg, 486 U.S. at 847
    15   (affirming decision to vacate judgment under Rule 60(b) in the interests of justice
    16   due to judge’s failure to recuse himself in violation of 28 U.S.C. § 455); Preston v.
    17   U.S., 923 F.2d 731, 735 (9th Cir. 1991) (“There is no way [] to purge the
    18   perception of partiality in this case other than to vacate the judgment and remand
    19   the case to the district court for retrial by a different judge.”).
    20          In another case with similar circumstances—Demodulation, Inc. v. United
    21   States, 114 Fed. Cl. 655, 657 (2014)—the court confirmed first, “Nothing . . .
    22   suggests that Judge Braden’s [conflict] influenced her rulings in the two
    23   substantive orders that she issued prior to disqualification.” Id. at 657.
    24   Nevertheless, the court ruled:
    25          [I]f the orders of the now-recused judge were allowed to stand,
                Plaintiff could one day wonder whether the outcome of the case was
    26
                influenced by a judge who later recused herself from the case.
    27          Given the Federal Circuit’s strict application of disqualification
                requirements in Shell Oil, supra, Plaintiff’s counsel raises the specter
    28
                                                         7
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     1         of incurring the time and expense to pursue this case to completion,
     2         only to have the appellate court rule that the case must begin anew.
               Thus, the safest course is to vacate Judge Braden’s substantive
     3         orders because “justice must satisfy the appearance of justice.”
     4         Liljeberg, 486 U.S. at 864, 108 S. Ct. 2194. So that no questions
               remain about the appearance of Judge Braden’s partiality, as
     5         unlikely as that possibility seems, the Court chooses to start with a
     6         clean slate. Accordingly, Plaintiffs motion to vacate is GRANTED.
     7   Demodulation, 114 Fed. Cl. at 657 (emphasis added).
     8         In the cited Shell Oil case, the Federal Circuit reasoned similarly as follows:
     9               Because the stock was not divested, recusal is mandatory under
               § 455(b)(4), and cannot be waived. . . .
    10
                      Although the judge explained that he did not discover the
    11
               interest until he was entering final judgment, . . . [it] pre-dates his
    12         September 28, 2009 decision denying the government’s motion for
               reconsideration with respect to damages, as well as his October 30,
    13
               2009 entry of final judgment. Accordingly, the judge should have
    14         recused himself as of May 15, 2009 and should have taken no
               further action other than the ministerial act of transferring the case to
    15
               another judge. . . .
    16                                         ...
    17                . . . We emphasize that there is neither an allegation nor
               suggestion that the judge was unduly influenced by his wife’s
    18         financial interest, which no one argues was substantial. The statute
    19         does not require as much—it simply requires recusal whenever
               financial conflicts of interest exist, regardless of whether those
    20         conflicts affect the outcome of the case. Because the judge was
    21         required to recuse himself under § 455(b)(4), his failure to do so
               violated the statute.
    22
                                                ...
    23                Here, the trial court’s decision to reinstate its judgment with
    24         respect to Shell Oil and Arco may have a prejudicial effect on the
               now-severed litigation of Texaco and Union Oil’s claims. Indeed,
    25         given the identity of issues involved, the parties do not dispute that a
    26         decision in this case will control the outcome in the severed case
               involving Texaco and Union Oil. See Oral Argument at 16:20 (noting
    27         that the Texaco case is stayed pending resolution of this case, and that
    28         this appeal “will be dispositive in that case, most probably”). . . .
                                                      8
                                        Plaintiffs’ Motion Re Recusal
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     1               In addition to the risk of injustice to the parties, we find that,
     2         under these circumstances, there is also a “risk of undermining the
               public’s confidence in the judicial process.” See Liljeberg, 486 U.S.
     3         at 864, 108 S. Ct. 2194. This is particularly true given that, several
     4         months after disclosing a financial interest in “Chevron Texaco
               Stock,” the trial judge: (1) denied the government’s motion for
     5         reconsideration; and (2) entered final judgment in excess of $86
     6         million in favor of the Oil Companies.
     7   Shell Oil Co. v. United States, 672 F.3d 1283, 1288-94 (Fed. Cir. 2012) (emphasis
     8   added).
     9         As the above case law makes clear, and particularly in this situation
    10   following widespread negative exposure in the press of failures to recuse
    11   (including 54 instances connected to Judge Sammartino), any doubts here about
    12   the following questions should be resolved in favor of re-setting this case for a trial
    13   on the merits:
    14         •     Did the undisclosed financial interest “appear[] to have had the
    15
               potential of affecting the judge’s rulings”?
               •     Would the undisclosed financial interest (if disclosed) “have
    16
               prevented entry of the judgment in the first place”?
    17
               •     Is there a “risk of injustice” to Plaintiffs because of the
    18         undisclosed financial interest?
    19         •     Is there an “appearance of impropriety” requiring “near-total
               vacatur,” as in Clark?
    20
               •      Do these circumstances require “the most conservative course
    21
               of action,” as in Clark?
    22         •     Would granting relief here encourage judges “to more carefully
    23         examine possible grounds for disqualification and to promptly
               disclose them when discovered,” as in Clark?
    24
               •      Would “a failure to vacate . . . likely jeopardize the public’s
    25         trust and confidence in the judiciary,” as in Clark?
    26         •     Is there any other way to restore “the appearance of integrity
    27         and independence of judges”?

    28
                                                       9
                                         Plaintiffs’ Motion Re Recusal
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     1          •     As in Demodulation, “[I]f the orders of the now-recused judge
     2          were allowed to stand,” would Plaintiffs and/or the public be
                reasonable to “wonder whether the outcome of the case was
     3          influenced by a judge who later recused herself”?
     4          •     As in Demodulation, is “the safest course [] to vacate Judge
     5          [Sammartino’s] substantive orders because ‘justice must satisfy the
                appearance of justice.’”?
     6
                •      As in Demodulation, is “a clean slate” necessary “[s]o that no
     7          questions remain about the appearance of Judge [Sammartino’s]
     8          partiality, as unlikely as that possibility seems”?

     9          •      Is there a “risk of undermining the public’s confidence in the
                judicial process” (as in Shell Oil) if this action is not re-set for a trial
    10          on the merits?
    11
         Certainly, the answer to each of these questions counsels strongly against doing
    12
         nothing.
    13
                           Circumstances Justifying The Requested Relief
    14
                In 2012, Defendants Target and Kmart, along with others including Amazon
    15
         and Toys ‘R Us, engaged Plaintiffs as patent/IP litigation counsel to defend them
    16
         in three related federal court actions claiming many millions in damages for patent
    17
         infringement and false advertising (including a class action). By 2015, Plaintiffs
    18
         had won all three cases for Target, Kmart and the others. 3 While Plaintiffs had
    19
         agreed to a much-reduced hourly rate with their foreign vendor and indemnitor,
    20
         Target and Kmart’s direct attorney-client relationship with Plaintiffs was left to the
    21
         time-honored equitable doctrine of quantum meruit. By 2015, even at the reduced
    22
         hourly rate, over time the foreign vendor had “shorted” Plaintiffs to the tune of
    23
         $487,637.78.
    24
                With “hat in hand” as would be any individual making a request of a Fortune
    25
         50 corporation, Intervenor-Plaintiff informed Target of the dire personal financial
    26
         repercussions due to the shortfall, and asked Target to leverage its unlimited
    27
         3
           During the relevant time frame from 2012-2015, Intervenor-Plaintiff Lobbin was an
    28
         independent, non-employee contract partner of Plaintiff The Eclipse Group, LLP, a law firm.
                                                         10
                                            Plaintiffs’ Motion Re Recusal
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     1   resources to compel payment from its own foreign vendor. Undoubtedly, Target
     2   could have chosen that easy path, likely without any financial repercussions
     3   whatsoever to itself. Target refused, however, and instead chose to fight (and fight
     4   and fight) Plaintiffs in this action filed in June 2015.
     5          Target has fought Plaintiffs for nearly seven years, and undoubtedly for a
     6   cost equaling many multiples of the unpaid amount. For reasons Plaintiffs still
     7   cannot understand (but for “no good deed goes unpunished”), Target apparently
     8   refused to secure any payment from its foreign vendor, refused to make any
     9   payment itself, and even refused to acknowledge its own, incontrovertible quantum
    10   meruit liability. See ECF No. 48 at 19-21 (district court reminded Target of its
    11   clear prima facie liability for “an attorney’s right to quantum meruit recovery for
    12   services rendered”). 4 Following a denial of cross-motions for summary judgment,
    13   in 2018 Judge Sammartino set the case for pretrial and trial. See ECF No. 197.
    14   The trial setting prompted Target (and Kmart) to finally settle by entering the
    15   parties’ August 1, 2018 Settlement Agreement, by which “Target and Kmart
    16   agree[d] to cause Eclipse and Lobbin to be paid a collective sum of $425,000.00.”
    17   See ECF 249-1 at 6. 5 Unfortunately, because Kmart filed a bankruptcy petition
    18   within weeks of promising to pay Plaintiffs (but before paying), and because
    19   Target refused to honor its promise to pay in full, more litigation followed.
    20          As this action proceeded, Judge Sammartino demonstrated increasing bias
    21   against Plaintiffs—strangely—rather than Target or Kmart or their joint counsel.
    22   On summary judgment, Judge Sammartino strained to deny Plaintiffs’
    23   straightforward request simply to confirm as a matter of law each Defendant’s
    24
         4
    25     This action is for quantum meruit damages, not just for the amounts invoiced to Target’s
         indemnifying vendor. Target’s exposure at trial involved an examination of “the[] reasonable
    26   value” of the services rendered, which Plaintiffs’ expert is prepared to testify equals as much as
         $30 million. See ECF No. 157-3 at 8.
    27
         5
           The undoubted knowledge of the imminent bankruptcy filing by Kmart and Target (via their
    28
         joint counsel) supports their additional liability for promissory fraud.
                                                           11
                                              Plaintiffs’ Motion Re Recusal
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     1   liability for a quantum meruit recovery, and similarly strained to permit a trial on
     2   insupportable defenses. See ECF No. 193. In several key rulings following the
     3   Settlement Agreement, Judge Sammartino misapplied basic, black-letter principles
     4   and presumptions of contract law (see, e.g., ECF Nos. 240 and 248), 6 and assessed
     5   monetary penalties against Plaintiffs which were unfair, disproportionate and
     6   improperly punitive. See, e.g., ECF Nos. 127 at 10, 146, 257, 262 and 269. The
     7   key rulings have been strange for many reasons, not the least of which is that the
     8   Court’s reasoning has consistently strained to favor “Goliath” (here, Defendant
     9   Target) rather than our side of the case (i.e., “David”). 7 Additionally, as in Shell
    10   Oil, this Court’s prior decisions tainted with conflict “may have a prejudicial
    11   effect” on future issues, both on remand and potentially in collateral litigation
    12   asserting breach of contract and promissory fraud, among other claims. Also,
    13   because this Court’s prior decision construed the Settlement Agreement at issue, it
    14   may be asserted as having preclusive effect in future proceedings over several
    15   related but unresolved issues. For that reason also, the Court’s substantive
    16   decisions should be set aside because of the disqualification and recusal under 28
    17   U.S.C. § 455.
    18          Another important consideration here is that an “appearance of impropriety”
    19   most often results from the scales of justice tipping in apparent favor of “Goliath”
    20   over “David” (as in this case), not the other way around. See, e.g., Time
    21   Magazine, “How the Supreme Court Favors the Rich and Powerful” (March 3,
    22   2020). To state this point another way, the “guardrails” in our justice system
    23   should be especially strong (and should be applied especially conservatively) for
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          As Judge Kleinfeld noted on appeal, “The contract plainly requires Target [to be liable for
    26   breach of the Settlement Agreement].” See ECF No. 276 at 10.
    27   7
          As Judge Callahan noted in oral argument on appeal, as a practical matter it was “odd” that
         Target would spend far more money to litigate this case than the amount at issue: “There is a real
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         world side to this,” she noted.
                                                          12
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     1   protecting individuals, not for protecting behemoth corporations like Target. 8
     2   Another unique, critical fact here is that for well over a decade and for long into
     3   the future, this Court is Intervenor-Plaintiff’s “home” district for our firm’s busy
     4   patent and intellectual property litigation practice. At any time, we have many
     5   cases pending in this Court, including some assigned to Judge Sammartino. See,
     6   e.g., Case No. 16-875. Also, Intervenor-Plaintiff has longstanding friendships with
     7   a career law clerk and some of the judges, 9 recently completed a 3-year term on the
     8   Board of the San Diego Chapter of the Federal Bar Association, and plans to
     9   continue an active litigation practice in this Court for many years to come. These
    10   circumstances require even more “careful safeguards” to protect the integrity of the
    11   Court and err on the side of granting the requested relief in order to purge the
    12   conflict, the disqualification and the recusal under 28 U.S.C. § 455. See Clark, 612
    13   B.R. at 820 (“Public trust and confidence in the judiciary depend upon the
    14   appearance of integrity and independence of judges, which must be carefully
    15   safeguarded.”) (emphasis added).
    16             For these many reasons, the circumstances here support at least the
    17   conclusion of an “appearance of impropriety” and “the risk of injustice” to our side
    18   of this case—i.e., Plaintiffs. Concerning “the risk that the denial of relief will
    19   produce injustice in other cases,” here as in Clark, “This factor weighs in favor of
    20   vacating the judgment when so doing would encourage a judge or litigant to more
    21   carefully examine possible grounds for disqualification and to promptly disclose
    22   them when discovered.” Id. at 20. Concerning “the risk of undermining the
    23   public’s confidence in the judicial process,” here as in Shell Oil, the rulings
    24   causing an “appearance of impropriety” were consistently in favor of the side of
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             Target Corporation has a market cap well in excess of $100 billion.
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          For example, a career law clerk at the Court is a close family friend (and godmother to my
    27   daughter), which has required her recusal on several of our cases assigned to her judge. Also,
         Judge Battaglia joined me and others in sponsoring the San Diego Italian-American Bar
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         Association, and Judge Lopez served with me on the Board of the Federal Bar Association.
                                                            13
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     1   the case from which the conflict and financial interest occurred. See Shell Oil, 672
     2   F.3d at 1294 (noting a “final judgment in excess of $86 million in favor of the Oil
     3   Companies”).
     4                                         Conclusion
     5         For each of the foregoing reasons, Plaintiffs respectfully request that this
     6   Court should vacate Judge Sammartino’s dismissal order (see ECF No. 228) and
     7   other substantive rulings (including but not limited to ECF Nos. 127 at 10, 146,
     8   240, 248, 257, 262 and 269), and return this action to its status as of June 12, 2018,
     9   when the Court set a “schedule of pretrial dates and deadlines.” See ECF No. 197.
    10   At a minimum, before any final decision on the appropriate remedy following
    11   recusal, Plaintiffs request appropriate disclosure and discovery of the
    12   circumstances surrounding the financial interest conflict, in order to faithfully
    13   assess the key issues justifying the requested relief.
    14

    15                                             Respectfully submitted,
    16   Dated: October 28, 2021                   SML AVVOCATI P.C.
    17                                             By:     /s/ Stephen M. Lobbin
                                                         Attorneys for Intervenor-Plaintiff
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     1                                 PROOF OF SERVICE
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     4         I hereby certify that on October 28, 2021, I electronically transmitted the
     5   foregoing document using the CM/ECF system for filing, which will transmit the
     6   document electronically to all registered participants as identified on the Notice of
     7   Electronic Filing, and paper copies have been served on those indicated as non-
     8   registered participants.
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         Dated: October 28, 2021                   /s/ Stephen M. Lobbin
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                                         Plaintiffs’ Motion Re Recusal
